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1    STEVEN BAUER
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2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     Andrew Blaxon
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,       )     No. CR-S 11-201 GEB
                                     )          CR-S 08-539 GEB
12                  Plaintiff,       )
                                     )
13        v.                         )     STIPULATION AND ORDER VACATING
                                     )     DATE, CONTINUING CASE, AND
14                                   )     EXCLUDING TIME
     ANDREW BLAXON                   )
15                  Defendants.      )
                                     )     Date   March 23, 2012
16   _______________________________ )     Time: 9:00 a.m.
                                           Judge: Hon. Burrell
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18
          IT IS HEREBY STIPULATED by and between Assistant United States
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     Attorney William Wong, Counsel for Plaintiff, and Attorney Steven
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     Bauer, Counsel for Defendant Andrew Blaxon that the status conference
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     scheduled for February 10, 2012, be vacated and the matter be continued
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     to this Court's criminal calendar on March 23, 2012,at 9:00 a.m. for
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     further status.
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          This continuance is requested by the defense in order to permit
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     counsel to continue in negotiations with the prosecution in attempt to
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     reach a resolution.   Both parties have asked that a Pre-plea report be
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     prepared by the probation department in order to assist with reaching
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1    an acceptable resolution in both cases.       The Probation department has
2    not had sufficient time to complete the report but expects that the
3    report will be completed by the next court date.         The Defense will need
4    time to review the report once it is complete and engage in further
5    negotiations with the Prosecution.
6         IT IS FURTHER STIPULATED that time for trial under the Speedy
7    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
8    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
9    ends of justice served in granting the continuance and allowing the
10   defendant further time to prepare outweigh the best interests of the
11   public and the defendant in a speedy trial.
12        The Court is advised that all counsel have conferred about this
13   request, that they have agreed to the March 23, 2012 date, and that all
14   counsel have authorized Ms. Santos to sign this stipulation on their
15   behalf.
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18        IT IS SO STIPULATED.
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20   Dated: Feb. 8, 2012                     /S/ Dina L. Santos for
                                            STEVEN BAUER
21                                          Attorney for
                                            ANDREW BLAXON
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23
     Dated: Feb. 8, 2012                     /S/ William Wong
24                                          WILLIAM WONG
                                            Assistant United States Attorney
25                                          Attorney for Plaintiff
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           Case 2:08-cr-00539-GEB Document 74 Filed 02/09/12 Page 3 of 3


1                                      O R D E R
2         IT IS SO ORDERED.
3    Dated: February 8, 2012

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5                                     GARLAND E. BURRELL, JR.
                                      United States District Judge
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